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                              UNITED STATES DISTRICT COURT
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                          EASTERN DISTRICT OF WASHIGNTON
 6
 7 UNITED STATES OF AMERICA,                           No. CR-13-026-LRS-2
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                Plaintiff,                             ORDER GRANTING
 9 vs.                                                 DEFENDANT’S UNOPPOSED
10                                                     MOTION TO MODIFY
11 ERNESTO HERNANDEZ CRUZ,
12                       Defendant.
13
14          Before the court is Defendant’s Motion to Modify One Condition of

15   Release. ECF No. 114. The court has considered the Motion and Declaration of

16   Counsel.    The United States takes no position on the Motion to Modify and

17   represents it will leave it to the discretion of the court.

18          IT IS ORDERED that Defendant’s Motion to Modify One Condition of

19   Release, ECF No. 114, is GRANTED.                The $75,000 corporate surety bond

20   requirement is modified. Defendant shall post a $75,000 percentage bond with a

21   deposit of $7,000 cash into the court registrar.

22          All other release conditions ordered on March 25, 2013, ECF No. 106,

23   remain in full effect.

24          DATED April 18, 2013.

25
                                S/ CYNTHIA IMBROGNO
26                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
